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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

JAMES JOSEPH JULUKE, JR.,          )
an individual,                     )
                                   )                  Case No.:      3:19-cv-02672-M
       Plaintiff,                  )
v.                                 )
                                   )
MCKINNEY AVENUE                    )
PARTNERS, LTD.,                    )
a Texas Limited Partnership,       )
                                   )
       Defendant.                  )
__________________________________ )


                                  NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff and Defendant have reached an agreement

regarding all substantive issues in dispute. The parties are currently in the process of finalizing a

written agreement and obtaining their respective client’s signatures. The parties anticipate filing

a joint stipulation for dismissal within thirty (30) days and further request that all deadlines be

adjourned while they finalize their settlement. The undersigned has contacted counsel for the

Defendant and she has consented to this filing.

Dated: March 18, 2020

                                              Respectfully Submitted,


                                      By:     /s/ Louis I. Mussman          .




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                                         and

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 18th day of March, 2020, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to the following:


       Laura L. Worsham
       JONES, ALLEN & FUQUAY, L.L.P.
       8828 Greenville Avenue
       Dallas, Texas 75243-7143


                                   By:   /s/ Louis I. Mussman        .




                                         Louis I. Mussman




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